 Case: 5:17-cv-00236-DCR Doc #: 38 Filed: 06/14/18 Page: 1 of 2 - Page ID#: 139



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      (at Lexington)

  SCOTT JONES,                                     )
                                                   )
            Plaintiff,                             )      Civil Action No. 5: 17-236-DCR
                                                   )
  V.                                               )
                                                   )
  FIRST RESOLUTION INVESTMENT                      )                  ORDER
  CORP., et al.,                                   )
                                                   )
            Defendants.                            )

                                      ***    ***   ***    ***

       The parties having filed an Agreed Order of Dismissal with Prejudice [Record No. 37],

and the Court being otherwise sufficiently advised, it is hereby

       ORDERED as follows:

       1.        The parties’ agreed order of dismissal with prejudice [Record No. 37], construed

as joint motion to dismiss, is GRANTED.

       2.        The claims asserted by Plaintiff Scott Jones against the defendants are

DISMISSED, with prejudice.

       3.        This action is DISMISSED and STRICKEN from the Court’s docket.

       4.        The parties shall bear their respective costs and fees, unless otherwise specified

in the Class Action Settlement Agreement approved in Islas v. First Resolution Investment

Corp., No. 1: 16-cv-141-GNS.




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Case: 5:17-cv-00236-DCR Doc #: 38 Filed: 06/14/18 Page: 2 of 2 - Page ID#: 140



    This 14th day of June, 2018.




                                     -2-
